1    LANE & NACH, P.C.
     2001 East Campbell Avenue
2    Suite 103
     Phoenix, AZ 85016
3    Telephone No.: (602) 258-6000
     Facsimile No.: (602) 258-6003
4
     Adam B. Nach – 013622
5    Email: adam.nach@lane-nach.com
     Stuart B. Rodgers – 025720
6    Email: stuart.rodgers@lane-nach.com
7    Attorneys for Roger W. Brown, Trustee
8                         IN THE UNITED STATES BANKRUPTCY COURT
9                                 FOR THE DISTRICT OF ARIZONA
10   In re:                                          (Chapter 7 Case)
11   HOLLY LYNN MICKELSON                            No. 2:20-bk-12093-MCW
12                  Debtor.                          FIRST/FINAL APPLICATION FOR
                                                     PAYMENT OF ATTORNEYS’ FEES
13                                                   AND COSTS
14

15   I.       GENERAL INFORMATION.
16            Lane & Nach, P.C., (hereinafter "Attorney") counsel for Roger W. Brown, Chapter 7
17
     Trustee (hereinafter "Trustee"), herein presents this First/Final Application for Payment of
18
     Attorneys’ Fees and Costs. In support of this Application, Attorney submits its billing statements
19

20   for services rendered during the period of January 5, 2021, August 3, 2021, which are attached

21   hereto and incorporated herein. In further support of its Application, Attorney respectfully
22
     represents as follows:
23
     II.      NARRATIVE SUMMARY.
24

25            A.    Background.

26                  1.    This case was commenced by voluntary petition filed on or about November
27
     3, 2020 (“Debtor”). Thereafter, Roger W. Brown was appointed Trustee.
28


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 1                 2.      Attorney's employment as counsel for the Trustee was approved by Order of
 2
     this Court dated January 5, 2021 [DE 22].
 3
                   3.      Attorney has expended in excess of 29.4 hours in its representation of the
 4

 5   Trustee on matters affecting the Estate. Based upon Attorney's ordinary hourly rates in effect at the

 6   time services were rendered, as detailed herein, Attorney's fees total $9,581.00. Attorney has also
 7
     incurred out-of-pocket expenses for which it is seeking reimbursement in the sum of $55.90. The
 8
     blended hourly rate is $336.66. The total amount sought by Attorney is as follows:
 9
10                 Fees                                                       $9,581.00
                   Costs                                                       $ 55.90
11                 Total                                                      $9,636.90
12
                   4.      The services for which compensation is requested were rendered on behalf of
13
     the Trustee and compensation is sought pursuant to 11 U.S.C. §§330(a), 331 and 503(a) and (b) and
14

15   Rule 2016(a), F.R.B.P. and in compliance with this Court's Order Authorizing Trustee to Employ

16   Attorney, and the Guidelines of the Office of the U.S. Trustee for the District of Arizona.
17
                   5.      Except as Attorney may be entitled to receive compensation herein, Attorney
18
     has no arrangements with any other parties whatsoever to pay Attorney for the services of Attorney
19

20   to the Estate, nor has Attorney received any funds from any parties whatsoever for the services

21   rendered to the Estate. Additionally, Attorney has not made any arrangements to share any
22
     compensation received by Order of this Court with any other party, nor does Attorney have
23
     arrangements for sharing of any compensation herein awarded, except as are normally divided
24

25   among members and/or associates of its firm.

26                 6.      The names of all of Attorney's professionals and paraprofessionals, their
27
     billing code, and the hourly rate charged by each is set forth below. Attorney charges its non-
28


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 1   bankruptcy clients at the same rate or higher for similar services. The rates charged are reasonable
 2
     and are commensurate with fees for similar services charged by bankruptcy attorneys and other
 3
     professionals of similar experience in Phoenix, Arizona.
 4

 5    Title                Name/Billing Code                          Hourly            Year Admitted to
                                                                      Rate(s)               Practice
 6    Partner              Adam B. Nach (ABN/Partner)                 $375                1991
 7    Partner              Stuart B. Rodgers (SBR/Partner)            $350                2007
      Associate            Greg Grandmont (GG/Associate)              $285                2015
 8    Paralegal            Sheila M. Rochin (SMR/Paralegal)           $175                N/A
 9
10                    7.      Attorney understands that pursuant to 11 U.S.C. §331 further applications
11   may not be submitted in less than 120-day intervals.
12
               B.     Case Status.
13

14
                      1.      To the best of Attorney's information and belief, the Trustee has received the

15   sum of $47,000.00. No distributions have been made with the exception of minimal banking fees.
16                    2.      To the best of Attorney's information and belief, there are no other approved
17
     and unpaid administrative expenses in this case.
18
                      3.      To the best of Attorney's information, there are no encumbered funds in the
19

20   Estate.
21                    4.      Trustee anticipates that the Notice of Proposed Distribution should be
22
     submitted no sooner than November, 2021. Trustee believes that it is not feasible to make an
23
     interim distribution to creditors at this time, without prejudicing the rights of any creditor holding
24

25   a claim of equal or higher priority.
26             C.     Project Summary.
27
               The following are the descriptions of the projects for which fees and expenses were incurred,
28


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 1   all of which were necessary and benefited the Estate, the number of hours spent and the amount of
 2
     compensation requested for each professional and paraprofessional for each project.
 3
                   1.      Case Administration. As more fully set forth in Exhibit "A" Attorney has
 4

 5   performed professional services with respect to the general administration of this bankruptcy Estate.

 6   Time was incurred in communication and correspondence with the Trustee and others regarding
 7
     the general status of the case and the various activities involved in the case. Time and attention was
 8
     incurred with the analysis of the Debtor's pre-petition activities. Time and attention was incurred
 9
10   in the analysis of Debtor's Schedules and Statements filed with the Court. In connection with this

11   subject area, the following fees were incurred:
12
      Title                Name                          Hourly            Hours         Dollar Amount
13                                                       Rate(s)
      Partner              Adam B. Nach                  $375                2.0              $750.00
14
      Partner              Stuart B. Rodgers             $350                0.2                70.00
15    Paralegal            Sheila M. Rochin              $175                0.2                35.00
      TOTAL                                                                                   $855.00
16

17
                   2.      Employment and Payment of Professionals. As more fully set forth in Exhibit
18

19   "A", Attorney has performed professional services with respect to the employment and payment of

20   professionals. In connection with this subject area, the following fees were incurred:
21
      Title                Name                          Hourly            Hours         Dollar Amount
22                                                       Rate(s)
      Partner              Adam B. Nach                  $375                2.0             $750.00
23    Paralegal            Sheila M. Rochin              $175                2.0               350.00
24    TOTAL                                                                                 $1,100.00

25

26                 3.      Asset Analysis & Disposition. As more fully set forth in Exhibit "A",

27   Attorney has performed professional services with respect to the analysis and disposition of Estate
28


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 1   assets. Time and attention was incurred in the analysis of the Estate’s interest in non-exempt
 2
     property located at 3217 Yelm Hwy SE, Apt 14, Olympia, Washington. Attorney filed a sale
 3
     motion and successfully liquidated the real estate for the benefit of the creditors of this Estate. In
 4

 5   connection with this subject area, the following fees were incurred:

 6    Title                  Name                         Hourly            Hours        Dollar Amount
 7                                                        Rate(s)
      Partner                Stuart B. Rodgers            $350              14.00           $4,900.00
 8    Associate              Gregory Grandmont            $285               4.1             1,168.50
 9
      Paralegal              Sheila M. Rochin             $175               1.4               245.00
      TOTAL                                                                                 $7,626.00
10

11
                     As detailed on Exhibit "A", the costs for which Attorney seeks reimbursement total
12
     $55.90.
13

14   III. EVALUATION STANDARDS.

15            A.     Attorney certifies that it did, in fact, perform the services set forth herein and is
16
     entitled to the compensation requested; and, Attorney certifies that performance of the services has
17
     benefited the Estate.
18

19            B.     Trustee has approved the requested fees and costs.

20   IV.      SUMMARY.
21
              The Summary Sheet, as required by the Office of the U.S. Trustee, is attached hereto and
22
     incorporated herein.
23

24
     V.       CONCLUSION.

25            Based on the foregoing, Lane & Nach, P.C., respectfully requests that this Court enter its
26   Order:
27
              A.     Approving and authorizing payment of fees to Lane & Nach, P.C. in the sum of
28


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 1   $9,581.00 for services provided from January 5, 2021, August 3, 2021; and,
 2
            B.     Approving and authorizing reimbursement of out-of-pocket expenses to Lane &
 3
     Nach, P.C., in the sum of $55.90; and,
 4

 5          C.     For such other and further relief as this Court deems just and proper.

 6          RESPECTFULLY SUBMITTED this 4th day of August, 2021.
 7
                                                LANE & NACH, P.C.
 8
                                                By /s/ Adam B. Nach
 9                                                    Adam B. Nach
                                                      Stuart B. Rodgers
10                                                    Attorneys for Trustee

11
     Copy of the foregoing mailed/delivered via electronic notification:
12
     Colin Stuart Bell
13   Allegiant Law Group
     777 East Thomas Road, Suite 150
14   Phoenix, AZ 85014
     Email: colin@allegiantlawaz.com
15   Attorney for Debtor

16   Office of U.S. Trustee
     230 North First Avenue
17   Phoenix, AZ 85003
     Email: ustpregion14.px.ecf@usdoj.gov
18   Email: edward.k.bernatavicius@usdoj.gov

19   By_/s/ Sheila Rochin

20

21

22

23

24

25

26

27

28


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                                              EXHIBIT "A"
                                            LANE & NACH, P.C.
                                             2001 E. Campbell Avenue
                                                     Suite 103
                                               PHOENIX, AZ 85016
                                             Telephone: (602) 258-6000
                                             Facsimile (602) 258-6003

                                                                                       TAX I.D. #XX-XXXXXXX

       ROGER BROWN
                                                                         Statement Date:     August 3, 2021
                                                                           Statement No.             93675
                                                                             Account No.         2006.026
                                                                                                   Page: 1

       RE: MICKELSON, HOLLY LYNN




                                                       Fees

                                                                                     Rate      Hours
01/05/2021     ABN   TELEPHONE CONFERENCE WITH TRUSTEE RE NEW CASE;
                     REVIEW AND RESPOND TO E-MAIL WITH BROKER
                     REGARDING NEW CASE; ATTENTION TO NEW CASE ISSUES.             375.00        0.90         337.50

01/29/2021     ABN   REVIEW FINANCIAL MANAGEMENT CERTIFICATE.                      375.00        0.10          37.50

02/22/2021     SMR EMAIL TRUSTEE TO REQUEST TAX RETURNS;                           175.00        0.10          17.50

02/23/2021     SMR RECEIVE TAX RETURNS FROM TRUSTEE; UPDATE CASE
                   FILE;                                                           175.00        0.10          17.50

03/11/2021     ABN   REVIEW DISCHARGE.                                             375.00        0.10          37.50

03/17/2021     ABN   REVIEW FILE; REVIEW AND RESPOND TO E-MAIL WITH
                     TRUSTEE REGARDING STATUS.                                     375.00        0.30         112.50

05/12/2021     SBR   REVIEW E-MAIL REGARDING W9 AND E-MAIL TRUSTEE
                     REGARDING SAME.                                               350.00        0.20          70.00

07/02/2021     ABN   REVIEW REPORT OF TRUSTEE REGARDING CLAIMS BAR
                     DATE.                                                         375.00        0.20          75.00

07/09/2021     ABN   REVIEW BNC CERTIFICATE OF SERVICE REGARDING
                     CLAIMS BAR DATE.                                              375.00        0.20          75.00

07/12/2021     ABN   CONFERENCE WITH TRUSTEE REGARDING CLOSING CASE.               375.00        0.20          75.00
                     CASE ADMINISTRATION                                                         2.40         855.00

01/05/2021     SMR REVIEW FILE FOR CONFLICTS; PREPARATION OF
                   APPLICATION TO EMPLOY ATTORNEY FOR TRUSTEE,
                   ATTORNEY DISINTERESTEDNESS DECLARATION AND FORM
                   OF ORDER; ELECTRONIC COURT FILING.                              175.00        1.00         175.00
               ABN REVIEW DRAFT OF APPLICATION TO EMPLOY AND ORDER;
                   REVIEW FILE REGARDING CONFLICTS.                                375.00        0.40         150.00


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                                                                                 Account No:     2006-026
                                                                               Statement No:        93675
      MICKELSON, HOLLY LYNN




                                                                             Rate       Hours

01/06/2021     ABN   REVIEW SIGNED ORDER APPROVING EMPLOYMENT OF
                     ATTORNEY.                                              375.00       0.10       37.50

08/02/2021     SMR FINALIZE TRUSTEE ATTORNEY FEE APPLICATION AND
                   RELATED DOCUMENTS.                                       175.00       1.00      175.00
               ABN REVIEW, REVISE AND EDIT INVOICES TO COMPLY WITH UST
                   GUIDELINES; ATTENTION TO CASE CLOSING ISSUES;
                   REVIEW TRUSTEE ATTORNEY FEE APPLICATION                  375.00       1.50      562.50
                     PROFESSIONAL EMPLOYMENT/ FEES                                       4.00     1,100.00

01/06/2021     GG    ATTEMPT TO ACCESS ONLINE FORM FROM BK GLOBAL;
                     EMAIL BK GLOBAL REPRESENTATIVE REGARDING SAME.         285.00       0.20       57.00
               SBR   REVIEW CASE DETAILS; E-MAIL EXCHANGE WITH TRUSTEE.     350.00       1.00      350.00
               ABN   REVIEW AND RESPOND TO E-MAIL WITH BK GLOBAL
                     REGARDING BROKER IN WASHINGTON.                        375.00       0.20       75.00
               ABN   REVIEW AND RESPOND TO E-MAIL WITH D. BIRDSELL
                     REGARDING TIMESHARE.                                   375.00       0.20       75.00

01/12/2021     GG    EMAIL AND TELEPHONE CORRESPONDENCE WITH BK
                     GLOBAL REGARDING FORM ACCESS.                          285.00       0.20       57.00

01/13/2021     GG    TELEPHONE CALL WITH T. SANTORA REGARDING SALES
                     PROCESS OF REAL PROPERTY.                              285.00       0.30       85.50

01/22/2021     GG    TELEPHONE CALL WITH T. SANTORA REGARDING STATUS
                     OF TITLE REPORT AND ACCESS TO REAL PROPERTY.           285.00       0.20       57.00
               GG    EMAIL TO DEBTOR'S COUNSEL TO DETERMINE OCCUPANCY
                     STATUS AND POINT OF CONTRACT FOR WASHINGTON
                     STATE REAL PROPERTY.                                   285.00       0.20       57.00

01/26/2021     GG    ATTENTION TO REAL PROPERTY OCCUPANCY STATUS.           285.00       0.10       28.50
               SBR   ATTENTION TO SALE ISSUES.                              350.00       0.20       70.00
               GG    EMAIL RESPONSE TO T. SANTORA REGARDING INQUIRY OF
                     OCCUPANCY STATUS.                                      285.00       0.10       28.50
               ABN   REVIEW AND RESPOND TO E-MAIL WITH TRUSTEE
                     REGARDING TITLE ISSUES.                                375.00       0.20       75.00

02/01/2021     GG    EMAIL TO DEBTOR'S COUNSEL TO REQUEST REAL ESTATE
                     AGENT CONTACT DEBTOR DIRECTLY TO COORDINATE
                     ACCESS TO REAL PROPERTY.                               285.00       0.10       28.50
               GG    REVIEW EMAIL FROM DEBTORS COUNSEL REGARDING
                     ACCESS TO REAL PROPERTY.                               285.00       0.10       28.50
               GG    EMAIL T. SANTORA CONTACT INFORMATION REGARDING
                     ACCESS TO REAL PROPERTY.                               285.00       0.10       28.50

02/02/2021     GG    EMAIL CORRESPONDENCE WITH T. SANTORA REGARDING
                     REAL ESTATE AGENT CONTACT.                             285.00       0.10       28.50

02/11/2021     GG    ATTENTION TO EMAIL AND DOCUMENTS FROM T. SANTORA
                     REGARDING SALE OF REAL PROPERTY.                       285.00       0.20       57.00
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                                                                               Rate     Hours

02/18/2021     ABN   REVIEW AND RESPOND TO E-MAIL WITH BK GLOBAL
                     REGARDING MOTION TO SELL FORM.                           375.00      0.20       75.00

02/22/2021     SBR   REVIEW/EDIT/REVISE/CONVERT APPLICATION INTO
                     ACCEPTABLE FORMAT; E-MAIL EXCHANGES WITH
                     SHORTSALE COMPANY.                                       350.00      1.00      350.00
               SBR   EDIT/DRAFT SALE MOTION; RESEARCH ISSUES RELATED TO
                     TAXES.                                                   350.00      2.00      700.00

02/23/2021     SBR   REVIEW TITLE REPORT AND TAX RETURNS; E-MAIL DEBTOR
                     ATTORNEY.                                                350.00      0.90      315.00
               ABN   REVIEW FILE; TELEPHONE CONFERENCE WITH TRUSTEE
                     REGARDING STRATEGY.                                      375.00      0.50      187.50

02/24/2021     ABN   REVIEW FILE; TELEPHONE CONFERENCE WITH TRUSTEE
                     REGARDING SALE OF INTEREST TO BANKRUPTCY GLOBAL
                     (X2).                                                    375.00      0.30      112.50

03/09/2021     SBR   REVIEW E-MAILS FROM THIRD PARTY FIRM REGARDING
                     SALES.                                                   350.00      0.20       70.00

03/10/2021     SBR   TELEPHONE CONFERENCE WITH SHORTSALE COMPANY.             350.00      0.20       70.00

04/14/2021     ABN   CONFERENCE WITH TRUSTEE REGARDING STATUS;
                     REVIEW AND ANALYZE FILE; REVIEW AND ANALYZE LEGAL
                     ISSUES WITH SALE FREE AND CLEAR VS. SUBJECT TO;
                     REVIEW AND RESPOND TO E-MAIL WITH TRUSTEE
                     REGARDING STATUS.                                        375.00      0.90      337.50
               SBR   BEGIN SALE MOTION DRAFTING.                              350.00      1.40      490.00

04/15/2021     SBR   MAKE EDITS AND SEND TO POTENTIAL PURCHASER.              350.00      0.40      140.00

04/27/2021     GG    FOLLOW UP WITH AUCTION.COM REPRESENTATIVE
                     REGARDING REVIEW OF DRAFT SALE MOTION.                   285.00      0.10       28.50

05/12/2021     SBR   SERIES OF EMAILS WITH CLIENT AND WITH POTENTIAL
                     BUYER REGARDING SALE OF PROPERTY AND SALE
                     MOTION.                                                  350.00      0.40      140.00

05/17/2021     GG    REVIEW AND REVISE TRUSTEE'S MOTION TO SELL REAL
                     PROPERTY.                                                285.00      0.40      114.00

05/18/2021     SMR PREPARATION OF FINAL ON SALE MOTION; SCAN AND
                     ATTACH EXHIBIT; PREPARATION OF FINAL ON BAR DATE
                     NOTICE OF MOTION; SCAN AND ATTACH EXHIBIT;
                     PREPARATION OF FINAL ON NOTICE OF SALE; ELECTRONIC
                     COURT FILING; CALENDAR FOR ATTORNEY RODGERS;
                     EMAIL TO DONNA WYATT FOR EMAIL BLAST; ATTENTION TO
                     POSTING ON LANE NACH WEBSITE;                             175.00    0.50        87.50
               SMR PREPARATION OF CERTIFICATE OF SERVICE; ELECTRONIC
                     COURT FILING;                                             175.00    0.40        70.00
             Case
               SBR2:20-bk-12093-MCW     Doc 42
                     CONTINUED EDITS; DRAFT     Filed 08/04/21 Entered 08/04/21350.00
                                            NOTICES.                            11:01:06 0.70
                                                                                          Desc      245.00
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                                                                                Statement No:        93675
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                                                                               Rate      Hours
               ABN   REVIEW FILE SALE MOTION AND NOTICE.                     375.00       0.20       75.00

05/23/2021     ABN   REVIEW AND ANALYZE BNC CERTIFICATE OF SERVICE
                     NOTICE OF SALE.                                         375.00       0.20       75.00

06/14/2021     SMR ON LINE WITH THE COURT TO CHECK FOR OBJECTION OR
                   RESPONSE; PREPARATION OF CERTIFICATE OF NO
                   OBJECTION AND ORDER REGARDING SALE MOTION;                175.00       0.50       87.50

06/15/2021     ABN   REVIEW SALE NOTICE PROVIDED BY D. WYATT TO
                     CREDITORS.                                              375.00       0.20       75.00

06/16/2021     SBR   REVIEW E-MAILS FROM INTERESTED BIDDERS; DRAFT
                     E-MAILS TO SAME REGARDING SCHEDULES AND "SKINNY"
                     TITLE REPORT.                                           350.00       0.30      105.00

06/17/2021     SBR   REVIEW VOICEMAIL AND DRAFT E-MAIL REGARDING
                     PROPERTY.                                               350.00       0.20       70.00
               SBR   ATTENTION TO CALLS AND E-MAIL INTERESTED BIDDERS.       350.00       0.30      105.00
               GG    RETURN TELEPHONE CALL TO INTERESTED PARTY
                     REGARDING SALE OF REAL PROPERTY.                        285.00       0.20       57.00

06/21/2021     ABN   REVIEW SIGNED SALE ORDER.                               375.00       0.10       37.50

06/29/2021     SBR   E-MAIL TO ORIGINAL BIDDER; AND TELEPHONE
                     CONFERENCE WITH POTENTIAL BIDDER.                       350.00       0.20       70.00
               SBR   CONDUCT PUBLIC AUCTION OF REAL PROPERTY.                350.00       0.50      175.00
               SBR   REVIEW TERMS AND DRAFT E-MAIL TO WINNING BIDDER.        350.00       0.30      105.00
               GG    DRAFT TRUSTEES DEED.                                    285.00       0.50      142.50
               GG    ATTEND PUBLIC AUCTION OF REAL PROPERTY.                 285.00                   0.00

07/01/2021     SBR   ATTENTION TO PAYMENT; PROCESS AND UPDATE REPORT.        350.00       0.20       70.00

07/12/2021     SBR   RESEARCH EXCISE TRANSFER ISSUES AND WHETHER IT IS
                     THE BUYER OR SELLER THAT MUST PAY AND DEED
                     RECORDATION FOR THE TRANSFER OF REAL PROPERTY.          350.00       1.10      385.00
               SBR   MAKE EDITS TO THE DEED.                                 350.00       0.30      105.00
               ABN   REVIEW AND ANALYZE EXCISE TAX ISSUE.                    375.00       0.30      112.50

07/13/2021     SBR   PREPARE FOR MEETING AND REVIEW TAX ISSUES (0.3);
                     MEET WITH TRUSTEE REGARDING DEED AND TAXES (0.2).       350.00       0.50      175.00

07/14/2021     SBR   ATTENTION TO TRANSFER ISSUES; PREPARE DEED FOR
                     DELIVERY.                                               350.00       0.60      210.00
               GG    TELEPHONE CALL TO WASHINGTON STATE DEPARTMENT
                     OF REVENUE; DISCUSSION WITH S. RODGERS REGARDING
                     SAME; EMAIL CORRESPONDENCE WITH BUYER REGARDING
                     DELIVERY OF DEED.                                       285.00       1.00      285.00

07/15/2021     SBR   REVIEW CLOSING INFORMATION AND DRAFT REPORT OF
                     SALE.                                                   350.00       0.40      140.00
               SBR   PREPARE MEMORANDUM REGARDING CASE ISSUES.               350.00       0.20       70.00
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                                                                                           Account No:       2006-026
                                                                                         Statement No:          93675
      MICKELSON, HOLLY LYNN




                                                                                       Rate     Hours

08/02/2021     SBR   E-MAIL EXCHANGE WITH REP FROM SHORT SELLER ABOUT
                     HOW THEY WERE NOT THE HIGH BIDDER.                               350.00      0.20          70.00
               SBR   ATTENTION TO FINAL CASE ISSUES.                                  350.00      0.30         105.00
                     ASSET ANALYSIS & DISPOSITION                                               23.00         7,626.00

                     For Current Services Rendered                                              29.40         9,581.00

                                                     Recapitulation
                Timekeeper                                         Hours       Rate          Total
                ADAM B. NACH                                         7.50   $375.00      $2,812.50
                SHEILA M. ROCHIN                                     3.60    175.00         630.00
                STUART B. RODGERS                                   14.20    350.00       4,970.00
                GREG GRANDMONT                                       4.10    285.00       1,168.50


                                                       Expenses

05/17/2021           POSTAGE 2 @ $.71                                                                            1.42
05/21/2021           COPIES @ $.25 EACH                                                                          1.50
05/21/2021           POSTAGE 2 @ $.51                                                                            1.02
07/14/2021           POSTAGE 1@ $7.16                                                                            7.16
08/02/2021           PACER FEE                                                                                   4.80
08/02/2021           COPIES; POSTAGE AND PROCESSING                                                             40.00
                     Total Expenses                                                                             55.90

                     Total Current Work                                                                       9,636.90


                     Balance Due                                                                             $9,636.90




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                                                         LANE & NACH, P.C.

                                                       Hours
                                                       to Bill        Amount
            Subtotal for Timekeeper 2    Billable        2.00          750.00 ADAM B. NACH



            Subtotal for Timekeeper 8    Billable        0.20           35.00 SHEILA M. ROCHIN



            Subtotal for Timekeeper 18   Billable        0.20           70.00 STUART B. RODGERS

Total for Category 101                   Billable        2.40          855.00 CASE ADMINISTRATION



            Subtotal for Timekeeper 2    Billable        2.00          750.00 ADAM B. NACH


            Subtotal for Timekeeper 8    Billable        2.00          350.00 SHEILA M. ROCHIN

Total for Category 102                   Billable        4.00        1,100.00 PROFESSIONAL EMPLOYMENT/ FEES


            Subtotal for Timekeeper 2    Billable        3.50        1,312.50 ADAM B. NACH



            Subtotal for Timekeeper 8    Billable        1.40          245.00 SHEILA M. ROCHIN



            Subtotal for Timekeeper 18   Billable      14.00         4,900.00 STUART B. RODGERS


            Subtotal for Timekeeper 20   Billable        4.10        1,168.50 GREG GRANDMONT

Total for Category 104                   Billable      23.00         7,626.00 ASSET ANALYSIS & DISPOSITION

                                                             GRAND TOTALS

                                         Billable      29.40         9,581.00




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